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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_________________________________________
                                           :
ZENAIDA TALAVERA, et al.,                  :
                                           :
                   Plaintiff,              :
                                           :
v.                                         :
                                           : Civil Action No.: 18-cv-04686
BAYER CORP. et al.,                        :
                                           :
                   Defendants.             :
 _________________________________________ :

                               STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, the parties hereto,

through their undersigned counsel, hereby stipulate and agree that the within matter between

Plaintiff Zenaida Talavera and Defendants Bayer Corporation, Bayer U.S. LLC, Bayer

Healthcare, LLC, Bayer Essure Inc., and Bayer Healthcare Pharmaceuticals, Inc., is hereby

settled, discontinued, and ended with each party to bear its own costs and attorney’s fees.

BY THE PARTIES:

 /s/ T. Matthew Leckman_______                     /s/ Christopher R. Boisvert
T. Matthew Leckman (PA I.D. No. 92241)            Christopher R. Boisvert (PA I.D. No. 306968)
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                                                  Counsel for Defendants Bayer Corp., Bayer
                                                  U.S. LLC, Bayer HealthCare LLC, Bayer
                                                  Essure Inc., & Bayer HealthCare
                                                  Pharmaceuticals Inc.

Dated: April 16, 2021
